                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                   CHARLOTTESVILLE DIVISION

  CYNTHIA B. SCOTT, et al.,                                 )
                                         Plaintiffs,        )      CASE NO. 3:12-CV-00036
                                                            )
  v.                                                        )
                                                            )      FINDINGS OF FACT AND
                                                            )      CONCLUSIONS OF LAW
  HAROLD W. CLARKE, et al.,                                 )
                                                            )      By: Norman K. Moon
                                         Defendants.        )      United States District Judge


         This civil rights class action is before the Court after a fairness hearing regarding final

  approval of the parties’ proposed settlement. Plaintiffs filed proposed findings of fact and

  conclusions of law, which Defendants reviewed in advance of filing and with which they concur.

  (Dkt. no. 255 at 1). Plaintiffs also moved for attorneys’ fees and, after negotiations, the parties

  have submitted proposed supplemental findings and conclusions on that issue. (Dkt. no. 259).

  This case has been thoroughly and fairly litigated, and the proposed settlement is now ripe for

  final approval, as is a ruling regarding attorneys’ fees.

         Prisoners at the Fluvanna Correctional Center for Women (“FCCW”) brought suit in July

  2012, alleging violations of the Eighth Amendment’s prohibition on cruel and unusual

  punishment based on substandard medical care. Defendants unsuccessfully moved to dismiss the

  case. (See, e.g., dkt. nos. 33, 76). After extensive discovery, the parties filed cross-motions for

  summary judgment. (Dkt. nos. 135, 137). Additionally, Plaintiffs sought certification of a class

  of present and future prisoners at FCCW. (Dkt. no. 131).           The Court certified the class under

  Fed. R. Civ. P. 23(b)(2). (Dkt. nos. 188, 189).          The Court also granted Plaintiffs’ motion for

  partial summary judgment and denied Defendants motion for summary judgment. (Dkt. nos.

  201, 202). With a bench trial imminent, the parties notified the Court on November 25, 2014


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  that they had reached a settlement in principle. (Dkt. no. 203). After lengthy negotiations over

  several months, the parties submitted a consent motion for preliminary approval of their

  settlement, which was granted. (Dkt. nos. 220, 221-1, & 222).

         In evaluating the appropriateness of final approval against the relevant legal standards,

  the Court draws upon its familiarity with the facts and history of the case, the evidence

  previously placed in the record, testimony from the fairness hearing, and the parties’ proposed

  findings of fact and conclusions of law. The Court also has considered the handful of objections

  to the proposed settlement.    For the reasons that follow, final approval of the settlement

  agreement will be given.

                                   PROCEDURAL HISTORY

         Plaintiffs, prisoners residing at FCCW, a facility of the Virginia Department of

  Corrections (“VDOC”), initiated this class-action lawsuit on July 24, 2012, pursuant to the

  Eighth Amendment to the Constitution of the United States and 42 U.S.C. § 1983, seeking

  declaratory and injunctive relief with respect to alleged constitutionally-deficient medical care

  afforded to themselves and all other women residing at FCCW.            Plaintiffs contended the

  deficient medical care reflects deliberate indifference on the part of the VDOC Defendants to

  Plaintiffs’ serious medical needs. The complaint, subsequently amended, provided detailed

  allegations of insufficient medical care: e.g., prison officials changing or disregarding the

  recommendations or prescriptions of medical professionals; failure to timely respond to medical

  emergencies or to non-emergencies such that medical conditions worsened; failure to administer

  medications or doing so under extreme conditions (such as in inclement weather at two or three

  o’clock in the morning); insufficient medical staffing; refusal to provide medical services on




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  grounds of cost or pretextual security concerns; and the failure to treat known, obvious, or

  suspected medical conditions such as MRSA, cancer, or diabetes.

         On December 11, 2012 and October 4, 2013, the Court entered opinions denying various

  motions to dismiss the complaint for failure to state a claim. (Dkt. nos. 33 &76). The case

  proceeded for several more months in discovery. In August and September of 2014, Plaintiffs

  filed a motion to certify the class and for partial summary judgment, while Defendants also

  moved for summary judgment. (Dkt. nos. 131, 135, 138). By Memorandum Opinion and Order

  dated November 20, 2014, the Court granted Plaintiffs’ motion for class certification and

  certified a class consisting of “all . . . women who currently reside or will in the future reside at

  FCCW and have sought, are currently seeking or will seek adequate, appropriate medical care for

  serious medical needs, as contemplated by the Eighth Amendment to the U.S. Constitution,”

  pursuant to Fed. R. Civ. P. 23(b)(2). (Dkt. no. 188).

         Thereafter, the Court entered an Order granting partial summary judgment in favor of the

  Plaintiffs and denying the VDOC Defendants’ motion for summary judgment in its entirety on

  November 25, 2014, holding, inter alia, that:

        Plaintiffs established, as a matter of law, that they fully and properly exhausted all pre-
         litigation administrative remedies available to them, as required by applicable provisions
         of the Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e (See Memorandum
         Opinion dated November 25, 2014, at 23-33 & nn.8-10 (Dkt. no. 201));

        Plaintiffs established, as a matter of law, that individually and as a class, they suffer from
         “serious medical needs” as a predicate to a viable cause of action for “deliberate
         indifference” under the Eighth Amendment (Id. at 13-18 & n.6);

        Plaintiffs established, as a matter of law, that the VDOC Defendants have a non-
         delegable duty under the Eighth Amendment to provide constitutionally-adequate
         medical care to all prisoners within their custody, including the Plaintiffs (Id. at 8-13);
         and that

        VDOC Defendants failed, as a matter of law, to demonstrate on the basis of material facts
         as to which there is no genuine issue in dispute, that they could not be found liable for

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         providing insufficient medical care, or failing to provide medical care under
         circumstances in which such care was due, reflecting “deliberate indifference” to the
         Plaintiffs’ and the class members’ serious medical needs in violation of the Eighth
         Amendment. (Id. at 33-46.)

         The parties negotiated the proposed Settlement, first agreeing in principle to a resolution,

  which they then reduced to writing on November 25, 2014 in the form of a Memorandum of

  Understanding (“MOU”) regarding the substance and content of the Settlement and the process

  by which a final agreement would be reached. The parties notified the Court that they had

  reached an agreement in principle that same day, on the eve of trial. (Dkt. no. 204). Since that

  time, the parties have engaged in extensive communications by telephone, e-mail, and three in-

  person meetings involving counsel, VDOC officials, medical experts, and at times the proposed

  Settlement Compliance Monitor, Dr. Nicholas Scharff. The purpose of these meetings and

  correspondence was to finalize the Settlement Agreement terms, as well as changes to the VDOC

  Operating Procedures that governed the provision of medical care at FCCW, as contemplated in

  the parties’ MOU.

         A final, fully-executed Settlement Agreement, with Appendices and Exhibits thereto,

  were submitted to the Court on September 15, 2015. See Dkt. nos. 220 & 221. On September

  16, 2015, the Court granted preliminary approval of the class settlement. (Dkt. no. 222). The

  Defendants subsequently certified on September 24, 2015 that notice of the proposed settlement

  and class members’ right to object was distributed to each prisoner housed at FCCW. (Dkt. nos.

  224 & 224-1). The Defendants further certified that notice of the Settlement was also sent on

  September 22, 2015 to the appropriate federal officials as required by the Class Action Fairness

  Act (“CAFA”), 28 U.S.C. § 1715. (Dkt. no. 223).

         As described in further detail below, this Court conducted a Fairness Hearing on

  November 9, 2015 to receive evidence and testimony to assist in evaluating whether the


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  settlement of this action on the terms and conditions provided for in the proposed Settlement

  Agreement is fair, reasonable, and adequate.

                                      FINDINGS OF FACT

                        Summary of the Proposed Settlement Agreement

         The Settlement Agreement in this case consists of two broad components: review and

  revision of VDOC policies governing medical care at FCCW, and monitoring of FCCW’s

  compliance by an independent monitor. (Dkt. no. 221-1 (Settlement Agreement)). Plaintiffs and

  Defendants, in consultation with their respective experts and Dr. Scharff (the proposed

  compliance monitor), agreed to revisions of certain VDOC Operating Procedures, which, as

  revised, will provide guidance for the provision of enhanced medical care at FCCW. The

  provisions revised are:

         OP 411.1 Offender Transportation [Non-Public]
         OP 420.2 Use of Restraints and Management of Offender Behavior [Non-Public]
         OP 425.2 Hospital Security [Non-Public]
         OP 701.1 Health Services Administration
         OP 720.1 Access to Health Services
         OP 720.2 Medical Screening Classification and Levels of Care
         OP 720.3 Health Maintenance Program
         OP 720.4 Co-Payment for Health Care Services
         OP 720.5 Pharmacy Services
         OP 730.1 Mental Health Services: Administration
         OP 730.2 Mental Health Services: Screening, Assessment and Classification
         OP 730.5 Mental Health Services: Suicide Prevention and Behavior Management
         OP 740.1 Infectious Disease Control
         OP 810.1 Offender Reception and Classification

  (Dkt. no. 221-1, App’x. A).

         The parties also negotiated and agreed upon a set of additional medical guidelines and

  standards addressing issues and problems at FCCW that Plaintiffs alleged in their Complaint and

  developed throughout the pendency of this case. These subjects include, inter alia, provider

  staffing levels, the medical intake process, comprehensive health assessments, the sick call


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  process, the co-pay policy, diagnosis and treatment, response to emergencies, infirmary

  conditions, chronic care, infectious disease control, utilization management, continuity of

  medications and treatment supplies, physical therapy, medical grievances, access to information

  regarding care, accommodations for prisoners with disabilities, staff training, care and release of

  terminally-ill prisoners, conduct of mortality reviews, and criteria for measuring performance

  and quality improvement and contractor monitoring. (Dkt. no. 221-1 at 6-15).

         The parties also agreed to create an additional Operating Procedure for FCCW regarding

  reasonable accommodations for physical disabilities of incarcerated individuals consistent with

  the mandate of the Americans with Disabilities Act (“ADA”), 42 U.S.C. §§ 12131 et seq., and its

  implementing regulations and standards.      (Doc. no. 221-1 at 15).      This procedure will be

  developed in consultation with the parties’ respective medical experts and the compliance

  monitor within 120 days of the effective date of the settlement agreement. (Id.).

         Lastly, the parties agreed that they will develop an Operating Procedure establishing

  concrete and definitive practices and procedures to govern VDOC’s self-evaluation with respect

  to the quality and quantity of the medical care it provides to prisoners at FCCW on an ongoing

  basis in accordance with widely-recognized Continuous Quality Improvement (“CQI”) concepts.

  This procedure will be developed in consultation of the parties’ respective medical experts and

  the compliance monitor within 120 days of the effective date of the settlement agreement. (Id.).

         The parties jointly selected Dr. Nicholas Scharff, M.D., MPH, the former Chief Medical

  Officer of the Commonwealth of Pennsylvania Department of Corrections, to serve as the

  Settlement Compliance Monitor. The parties believe that Dr. Scharff is appropriately qualified

  for this role.1 Dr. Scharff’s curriculum vitae is attached as Appendix C to the settlement

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         Based on a review of Dr. Scharff’s curriculum vitae and his testimony at the fairness
  hearing, the Court agrees with the parties’ assessment.

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  agreement. Dr. Scharff will develop performance monitoring tools for each of the subjects listed

  in Appendix B of the settlement agreement in regard to which a constitutionally-adequate level

  of care is owed. This will involve detailed tracking of samples of representative data and

  measuring and re-measuring over time to determine whether progress has been made. (See Dkt.

  no. 251 (Transcript of Nov. 9, 2015 Fairness Hearing) at 50-51 (hereinafter “Hr’g Tr.”)).

         Under the settlement, Dr. Scharff initially will visit FCCW four times a year. He will

  interview patients and staff and gather data while on-site, and will analyze the data off-site and

  provide a report reflecting the results of each visit to the parties. (Dkt. no. 221-1 at 16-17; Hr’g

  Tr. at 48). On his visits, Dr. Scharff will have access to speak confidentially with personnel and

  prisoners, as well as review facilities, medical files, and grievances as he deems necessary. The

  visits will occur over the period of a minimum of three years. (Dkt. no. 221-1 at 16-17, 20-21;

  Hr’g Tr. 48). Dr. Scharff will identify to the parties any areas or subjects where he finds that

  VDOC is not in compliance with the provisions of the settlement or Eighth Amendment

  standards. VDOC will have 30 days from the date of such notice within which to correct any

  areas of noncompliance, after which, if the problems persist, Plaintiffs will have the option of

  filing a motion in this Court to enforce the settlement, seek contempt sanctions, or both. (Dkt.

  no. 221-1 at 19).

         In summary, the Settlement Agreement addresses with particularity each of the problems

  Plaintiffs identified in their Complaint and fully developed in the record with the evidence

  supporting their memorandum in support of the motion for class certification (dkt. no. 132) and

  their memorandum in support of their motion for partial summary judgment (dkt. no. 138).

                                 Testimony at the Fairness Hearing

         Plaintiff Cynthia Scott. Cynthia Scott has resided at FCCW since 2003. She testified



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  that, at age 31, she had very few health problems when she first arrived at FCCW and led an

  active lifestyle of yoga, basketball, and other activities. Her health has deteriorated and now she

  requires the use of a wheelchair or cane for mobility and is in constant pain. (Hr’g Tr. at 6:10-

  8:9). Ms. Scott testified about problems at FCCW with delayed diagnoses, following the orders

  of medical specialists, denial of necessary medications, and FCCW’s failure to maintain an

  adequate supply of and provide prescribed medications. For example, Ms. Scott testified that

  FCCW failed to seek and obtain for her necessary treatment from a specialist for the bone

  disease in her wrists, shoulders, and hips. (Hr’g Tr. at 8:10-10:15).

         Ms. Scott also testified that FCCW delayed diagnosing a potentially deadly blood clot in

  2012, instead telling her that her cold, swollen, and icy foot that persisted over six months was a

  symptom of arthritis. (Hr’g Tr. at 10:16-13:18). Ms. Scott described unsanitary conditions at the

  Infirmary – including blood and feces on the walls – and difficulties in receiving prompt

  attention from a nurse when patients push the call button. (Hr’g Tr. at 15:17-22). She further

  testified that residents continue to experience problems with the medical care at FCCW,

  including the pharmacy running out of prescribed medications and delays responding to

  emergency calls for medical help. (Hr’g Tr. at 19:13-21:23). Ms. Scott believes that, with

  effective outside monitoring, the Settlement Agreement will resolve the problems at FCCW.

  (Hr’g Tr. at 22:25-23:3).

         Plaintiff Toni Hartlove. Toni Hartlove has resided at FCCW since 1999. (Hr’g Tr. at

  25:3-4). Ms. Hartlove testified about problems at FCCW concerning deficiencies with respect

  to medication administration, chronic care, pain management, and infirmary conditions. For

  example, she testified that she takes two medications daily that are necessary to prevent her from

  having seizures. (Hr’g Tr. at 25:21-26:1). These seizures are terrifying. She is immobilized and



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  cannot speak or move. The seizures are also psychologically scarring. She feels afraid and

  worries that she may physically injure herself in a fall.        (Hr’g Tr. at 26:21-27:16). Her

  medications have lapsed three times in just the last year, causing grand mal seizures each time.

  (Hr’g Tr. at 28:7-10). Ms. Hartlove believes the medical staff at FCCW frequently diverts

  medication prescribed to other inmates and gives it to her when FCCW prematurely runs out of

  her medication. Id.

         Ms. Hartlove has also been experiencing leg pain, and was just diagnosed with

  compressed discs. (Hr’g Tr. at 29:14-20). Although the pain is so intense that she cannot walk,

  she has been provided no prescription for pain medication except for 7-10 days of Motrin, and

  was then simply told to buy Advil or Tylenol at the commissary. The over-the-counter

  medications reduce the pain but do not sufficiently control it. (Hr’g Tr. at 33:4-20). Ms.

  Hartlove’s back condition will require surgery, and she is very worried about what will happen to

  her while she recovers in the infirmary because of the lack of adequate nurse staffing and the

  unsanitary conditions she has seen there. There are not enough nurses to pay appropriate

  attention to the patients and their needs. Infirmary patients are not allowed recreation, exercise,

  to go to school, to perform their jobs, to attend church services, or to participate in other

  activities. Most infirmary patients are not allowed to use the commissary. (Hr’g Tr. at 31:19-

  33:3). Before she stopped working because of her back pain, Ms. Hartlove worked as a laundry

  technician for 35 cents an hour, earning about $42 a month. From that amount, she must buy all

  her necessities at the commissary, in addition to paying sick call co-pays and buying needed

  medications. (Hr’g Tr. at 33:18 -34:13). Ms. Hartlove testified that the Settlement Agreement

  will be a fair and adequate solution to the problems identified in the lawsuit if it is followed.

  (Hr’g Tr. 25:17-20).



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          Plaintiff Lucretia Robinson. Lucretia Robinson has resided at FCCW since 2013. (Hr’g

   Tr. at 35:19-20). Ms. Robinson testified about problems with medical intake of new prisoners at

   FCCW, as well as problems with medication administration, treatment of prisoners with physical

   disabilities, and ongoing delays in pill line and provider access. For example, she testified that

   when she came to FCCW, she brought with her a walker and a cane she needed to move around

   because of an accident in which she was involved several years before. Both were taken away

   from her at intake, and as a result she had difficulty moving around, falling on multiple

   occasions. She also experienced a significant delay in getting a walker that had wheels, which

   she needed, and when she finally got it, she was charged a co-pay of almost $90. (Hr’g Tr. at

   39:8-40:9).

          Further, Ms. Robinson testified that she was diagnosed with and treated for breast cancer

   while in the regional jail, and that part of her prescribed long-term cancer treatment was a daily

   regimen of tamoxifen. When she arrived at FCCW, her prescription for tamoxifen was not

   refilled, and she was told that it would need to be approved before she could receive it. She had

   a lapse of approximately six weeks until she began receiving tamoxifen again. Even after her

   prescription for tamoxifen was approved, she testified that there have been other times when it

   has been allowed to lapse. (Hr’g Tr. at 36:3-38:3). Finally, she testified that the pill line, i.e., the

   process by which medication is distributed to prisoners, experiences frequent delays because the

   nurses who administer medication are often called away to deal with emergencies elsewhere.

   (Hr’g Tr. at 40:16-41:10). With regard to the settlement, Ms. Robinson testified that intensive

   monitoring will be critical to the success of the settlement. (Hr’g Tr. at 41:20-42:4).

          Dr. Erika Ramsdale. Dr. Erika Ramsdale is an oncologist and Assistant Professor of

   Medicine at the University of Virginia Medical School (“UVA”). (Hr’g Tr. at 73:11-24). As



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   part of her duties at UVA, Dr. Ramsdale treated Debbie Daley, a prisoner at FCCW, for locally

   advanced rectal cancer. (Hr’g Tr. at 73:25-74:6). Ms. Daley had been diagnosed with colorectal

   cancer shortly after arriving at FCCW in July 2013. (Dkt. no. 139, Ex. 37, Decl. Debbie Daley ¶

   4; Hr’g Tr. at 74:11-12). Dr. Ramsdale testified that FCCW medical personnel repeatedly

   changed Ms. Daley’s oncologist’s recommendations for long-acting and short-acting pain

   medications, leaving her in excruciating pain. (Hr’g Tr. at 74:24-75:3, 76:12-78:4).

          In November 2013, Ms. Daley’s UVA oncology specialists decided that she needed

   chemotherapy instead of surgery because her tumor had not shrunk sufficiently as a result of

   radiation treatment.    (Hr’g Tr. at 78:17-79:15). The oncology team recommended pre-

   chemotherapy evaluation in November 2013, which Ms. Daley did not receive until April 2014

   because FCCW failed to take her to a scheduled UVA appointment in February. (Hr’g Tr. at

   79:18-23).    FCCW further delayed the chemotherapy treatment until July 2014, by

   unsuccessfully attempting to transfer her treatment from Dr. Ramsdale to the Medical College of

   Virginia and due to scheduling delays caused by medical personnel at FCCW. (Hr’g Tr. at 81:1-

   82:7; 82:24-83:7).

          In February 2014, Dr. Ramsdale called Dr. Patricia Rodgers at FCCW to inquire why Ms.

   Daley missed her scheduled appointment. Dr. Rodgers said she did not know but that “she had

   no control over transportation and that the prison could cancel it for any reason.” (Hr’g Tr. at

   79:16-81:4). Ms. Daley had an abscess on her buttocks related to her cancer. When it became

   infected in June 2014, Dr. Carter, medical director at FCCW, refused to treat her with antibiotics

   for three weeks. When she arrived at UVA for an appointment to set up her chemotherapy

   treatments on July 2, 2014, Dr. Ramsdale found that Ms. Daley was febrile, septic, and in great

   pain. Dr. Ramsdale admitted Ms. Daley to the UVA Hospital for several weeks to treat her



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   infection with IV antibiotics and then to begin chemotherapy. (Hr’g Tr. at 82:24-84:24, 87:16-

   19).

          Dr. Ramsdale was so concerned about Ms. Daley’s condition upon her arrival at the UVA

   Hospital on July 2, 2014 that she contacted the UVA Ethics Consult Service with respect to her

   concerns of medical neglect. Dr. Ramsdale accepted the UVA Ethics’ recommendation to

   declare Ms. Daley an “unsafe discharge” unless FCCW would agree, among other things, to

   prompt transportation to any appointments, appropriate pain treatment, compliance and follow-

   through with chemotherapy treatments, and antibiotic treatment of further infections. (Hr’g Tr.

   at 85:9-87:15). After keeping Ms. Daley at UVA for four or five weeks as an unsafe discharge,

   Dr. Ramsdale finally agreed to discharge Ms. Daley back to the prison on the condition that they

   comply with the conditions she had outlined in a letter. Dr. Ramsdale testified that FCCW

   complied with some of the conditions, but the prison failed to provide appropriate pain

   medication and other supportive treatments. (Hr’g Tr. 86:12-88:3). Dr. Ramsdale recommended

   medical clemency and hospice for Ms. Daley, who was granted medical clemency in late

   November 2014. Ms. Daley died shortly thereafter, in early 2015. (Hr’g Tr. at 89:21-90:2). Dr.

   Ramsdale testified that Ms. Daley would not have suffered to the extent she did if FCCW had not

   been indifferent to her symptoms. (Hr’g Tr. at 90:6-13).

          Dr. Nicholas Scharff. Dr. Scharff has experience serving as a compliance monitor in

   another correctional system. (Hr’g Tr. at 45:3-46:21). He is familiar with the provisions of the

   Settlement Agreement and prepared and able to perform the monitoring required. (Hr’g Tr. at

   46:22-47:5).   One aspect of Dr. Scharff’s job as Compliance Monitor is to ensure that the

   VDOC Operating Procedures have in fact been rewritten and that they are being complied with

   as revised. In addition, Dr. Scharff is to monitor the VDOC’s performance with respect to a list



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   of specific functions and aspects of care listed in Appendix B to the Settlement Agreement.

   (Hr’g Tr. at 47:24-49:22). Dr. Scharff’s two overarching goals as Compliance Monitor are: (i)

   to establish systematic practices in the medical care provided at FCCW that meet the

   constitutional standard of care; and (ii) to change the health care culture at FCCW in ways that

   will outlast his term and ensure continued constitutionally-adequate care beyond the duration of

   the Settlement Agreement. (Hr’g Tr. at 47:6-49:3; 53:23-54:9).      Dr. Scharff believes that the

   Settlement Agreement will effectively address each of the problems described by the Named

   Plaintiffs during their testimony if it is properly followed and implemented with real “buy-in”

   from all levels of the institution. (Hr’g Tr. at 52:3-20).

                                 Written Objections to the Settlement

          Three class members filed objections to or comments on the settlement agreement prior

   to the fairness hearing on November 9, 2015, and three class members (including one named

   Plaintiff) filed comments after the hearing. These submissions, all supporting the need for

   improved medical care at FCCW, describe the negative experiences the class members had.

          Tennaire Durham (Dkt. no. 231).          Ms. Durham notes no specific objection to the

   settlement, but rather recounts facts showing that it is needed by describing her adverse

   experiences in hopes that “it helps make things better for the future offenders” at FCCW. She

   writes she is “not asking to be a part of this lawsuit but [] would like to let [the Court] know

   about [her] personal experiences since arriving on Sept. 8, 2015.” She was transferred to FCCW

   after foot surgery, because FCCW ostensibly is a “medical” prison, but “calling this prison a

   ‘medical’ facility [is] laughable at best.” She relays that green drainage came from her foot and

   it became swollen, but there was a delay in treatment. Eventually, she was diagnosed with

   MRSA. The infirmary, she says, “is not a good place to stay,” and she was put in solitary



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   conditions due to her MRSA infection, but the location was unsanitary. An unidentified doctor

   informed Ms. Durham that her foot also is fractured and that she should see a specialist at UVA,

   but in the month afterwards that appointment has not occurred. She also states that she is a

   diabetic but that her medicine was taken away from her. She confirms that—as Plaintiffs

   alleged—the “pill line” starts at 2:30 or 3:30 a.m.

           Uetta Karen Warner (Dkt. no. 237). Ms. Warner “formally file[s] [her] objection” to the

   settlement on the grounds that it is “still very weak,” largely because she believes that VDOC

   will not address the known problems with medical care at FCCW. Nevertheless, her filing

   mainly recounts ongoing problems raised by the named Plaintiffs, thus suggesting that the

   settlement is needed.

           Ms. Warner arrived at FCCW on June 10, 2015. She has “had to continually fight with

   the medical department to get the proper medications and treatments,” and has often received

   either other inmates’ medication or the wrong dosage. She was taken off medicine for high

   blood pressure, arthritis, migraines, asthma, and thyroid issues.       She believes that if the

   Department of Corrections and staff “were truly concerned and were trying to provide adequate

   medical care, that they would have already started some means of rectifying these problems.”

   She asks that the Court to take her letter into consideration when making a “final decision” in

   this case.

           Hope McRae Roe (Dkt. no. 234).2 Ms. Roe makes the most substantive and detailed



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           Ms. Roe’s filing was submitted with a cover page in which “[D]arlene [H]ope [F]ulmer”
   and “[D]avid [B]ulkley [H]opkins,” of Columbia, South Carolina, purport to be representing her
   as “counsel-in-fact.” (Dkt. no. 234 at ECF 1). Elsewhere—e.g., in the body of her objection and
   in attachments—it is repeated that these individuals are “acting in capacity as counsel-in-fact and
   exercising power-of-attorney” on her behalf, along with various other contentions about power
   of attorney and so-called counsel in fact. (Id. at ECF 3, 23; dkt. no. 234-2). In the interests of
   justice, the Court at the fairness hearing allowed these purported representatives of Ms. Roe to

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   objections to the settlement. At the fairness hearing, the Compliance Monitor, Dr. Scharff,

   specifically addressed her objections upon questioning by the Court. Accordingly, the Court will

   summarize her objections and Dr. Scharff’s responses below.

                        Consideration of Objections at the Fairness Hearing

          At the fairness hearing, the Court invited anyone present who objected to the settlement

   to be heard. Mr. David Hopkins came forward, allegedly on behalf of Objector Hope McRae

   Roe, and was accompanying by a reticent woman who Mr. Hopkins represented to be Ms. Roe’s

   mother, Darlene. (Hr’g Tr. 64-65; see also supra footnote 2). Some of Mr. Hopkins’ concerns

   involved matters outside the scope of this case—for instance, segregated housing (id. at 68-69)—

   but others repeated or amplified those expressed in Ms. Roe’s written objections. (Id. at 65-66,

   70). In any event, Mr. Hopkins was afforded the opportunity to make a full presentation to the

   Court. (Hr’g Tr. 64-71).

          In addition to Dr. Scharff’s direct and cross-examination, the Court asked him to respond

   to several of Mr. Roe’s written objections.    Ms. Roe objected that the term “medical staff” as

   used in the Settlement Agreement is not defined and should be clarified so that no one without

   appropriate medical training, experience, and qualifications should be deemed medical staff.

   (Dkt. no. 234 at 11-12). In response, Dr. Scharff testified that the term “medically trained

   personnel” was the subject of considerable discussion in the context of the revising the Operating

   Procedures, and that he considers it important as Compliance Monitor to determine exactly what

   training the medical staff received, in order to determine that they are adequately trained and

   capable of providing effective levels of care. (Hr’g Tr. at 55-56).




   make a substantial oral presentation. The Court also questioned the compliance monitor about
   Ms. Roe’s written concerns. See infra.

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           Ms. Roe objected that the timely evaluation and treatment of medical needs, as referred

   to in the settlement agreement, is undefined, and should be clarified to mean within 24 hours,

   and that timely emergency care should be within 12 hours or less. (Dkt. no. 234 at 12, 17). In

   response, Dr. Scharff testified that he believes that the timeliness of an emergency response must

   be adequate to the circumstances of each situation, and nationally-recognized medical standards

   govern the timelines for response to various categories of medical need. He expects to review all

   of those time intervals in the course of his monitoring activities at FCCW. (Hr’g Tr. at 56).

           Ms. Roe stated that the Settlement should contain a provision requiring documentation of

   medical events. (Dkt. no. 234 at 12). In response, Dr. Scharff stated that if there were a

   systematic practice of failing to properly document certain elements of medical care, he would

   consider that failure to fall short of a constitutional level of care. (Hr’g Tr. at 57).3

           Ms. Roe wrote that co-pays should be suspended for nine months rather than six months

   under the settlement. (Dkt. no. 234 at 14). In response, Dr. Scharff indicated that the important

   factor is that when the co-pay system is reinstated, it should be fair and equitable. (Hr’g Tr. at

   58).

           Ms. Roe stated that MRSA and hepatitis treatment guidelines should be adopted. (Dkt.

   no. 234 at 15). In response, Dr. Scharff observed that those guidelines are addressed by the

   settlement. (Hr’g Tr. at 58). Dr. Scharff made the same point regarding when and under what

   conditions the morning pill line begins, another concern raised by Ms. Roe. (Dkt. no. 234 at 16;

   Hr’g Tr. at 58-59).




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          Plaintiffs’ counsel also responded that the settlement and Dr. Scharff’s duties as
   compliance monitor contemplate “regular review of medical records” and grievances.

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           Ms. Roe believes that chronic care patients should be monitored every month rather than

   every six months when stable, as provided in the Settlement.        (Dkt. no. 234 at 16-17). Dr.

   Scharff disagreed, stating:

                   I think that—you know, that—anything that we decide to do for patients is
           really something else we’re deciding not to do for patients. It is not—even if you
           take all of the money out of it, the truth is people only have so much time and
           attention. And I think it is really important to make sure that people really do get
           everything they do need.

                  And in my practice for decades and in correctional practice, people with
           chronic illnesses don’t want to be seen every month. It is a pain in the neck. They
           have to stop doing what they are doing. When they need to come every month,
           they have to come every month. And when they don’t need to come every month,
           I think twice a year is actually a little bit more frequent than the usual standard
           outside of corrections.

   (Hr’g Tr. at 59).      Similarly, as to Ms. Roe’s objection that outside referrals should be

   accomplished within 14 days rather than 30 day (Dkt. no. 234 at 18), Dr. Scharff stated that the

   timing should depend on the urgency of the referral, but that routine referrals could be handled

   within 30 days. (Hr’g Tr. at 60).4

           Ms. Roe thinks the settlement should include a requirement that reports logging and

   summarizing grievances be issued every three months. (Dkt. no. 234 at 19). Dr. Scharff stated

   that he would be reviewing grievances and the manner in which FCCW responds to them as part

   of his monitoring process and that he anticipated making frequent reports on the grievance

   process, at least initially. (Hr’g Tr. at 61).

                     Objections and Comments Filed After the Fairness Hearing

           Additionally, after the fairness hearing, two class members sent letters or noted


   4
           Likewise, upon questioning about when test results should be competed and
   communicated, Dr. Scharff observed that tests results should be received by FCCW within 72
   hours but the timeline of communication with the patient about the results depends upon the
   nature of the test, the result, and corresponding urgency. (Hr’g Tr. at 60-61).

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   objections to the settlement agreement, and Karen Powell, one of the class representatives, also

   sent a letter directly to the Court. (Dkt. nos. 245, 246, 250). All of these letters discussed the

   death of a prisoner, Ines Ford (known to some at FCCW as “Wheels”) on November 10 or 11,

   2015. They underscored the need for improved medical care and effective monitoring at FCCW.

          Jennifer Lynn McGuire (Dkt. no. 245). Ms. McGuire states that she objects to the

   settlement “because [the conditions at FCCW] just keeps getting worse[.]” She relays that a Ms.

   Ford died on November 10 or 11, 2015. She asserts that the “Compliance Monitor is failing on

   their part of the job.” (Of course, the Compliance Monitor has not yet commenced his duties

   because the settlement had not been given approval.) She asks the Court to “please make the

   right decision.”

          B.D. Williams (Dkt. no. 250). Like Ms. McGuire, Ms. Williams also relays the passing

   of Ms. Ford and states her belief that it was a preventable death.

          Named plaintiff Karen Powell (Dkt. no. 246). As with Ms. McGuire and Ms. Williams,

   Plaintiff Powell shared with the Court Ms. Ines’ death, and stated that she was young, relatively

   health, and died of pneumonia because she was not supplied with needed medication. Plaintiff

   Powell does not have objections to the settlement, but wrote the Court to appraise it of Ms. Ines’

   death and to share her concerns with the state of care at FCCW.

                                      CONCLUSIONS OF LAW

          The claims of a certified class can only be settled with the Court’s approval “after a

   hearing and on finding that [the settlement] is fair, reasonable, and adequate.” Fed. R. Civ. P.

   23(e)(2). “The primary concern addressed by Rule 23(e) is the protection of class members

   whose rights may not have been given adequate consideration during the settlement

   negotiations.” In re Jiffy Lube Sec. Litig., 927 F.2d 155, 158 (4th Cir. 1991). “As the Fourth



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   Circuit has explained, the district court must engage in a two-level analysis in evaluating a

   settlement’s ‘fairness’and ‘adequacy.’” Domonoske v. Bank of Am., N.A., 790 F. Supp. 2d 466,

   472 (W.D. Va. 2011). “The court also must determine whether the class was given reasonable

   notice of the settlement.” Id.

          A class settlement is fair if it “was reached as a result of good faith bargaining at
          arm’s length, without collusion.” In re Jiffy Lube Sec. Litig., 927 F.2d at 159. In
          making this determination, a court should consider “(1) the posture of the case at
          the time settlement was proposed, (2) the extent of discovery that had been
          conducted, (3) the circumstances surrounding the negotiations, and (4) the
          experience of counsel in the area of ... class action litigation.” Id.

          Whether a settlement is adequate depends upon “(1) the relative strength of the
          plaintiffs’ case on the merits, (2) the existence of any difficulties of proof or
          strong defenses the plaintiffs are likely to encounter if the case goes to trial, (3)
          the anticipated duration and expense of additional litigation, (4) the solvency of
          the defendants and the likelihood of recovery on a litigated judgment, and (5) the
          degree of opposition to the settlement.” Id.

   Bicking v. Mitchell Rubenstein & Associates, P.C., No. 3:11CV78-HEH, 2011 WL 5325674, at

   *4 (E.D. Va. Nov. 3, 2011) (emphasis in original); see also Scardelletti v. Debarr, 43 F. App’x

   525, 528 (4th Cir. 2002) (reviewing factors); Domonoske, 790 F. Supp. 2d at 473-74 (same).

   I.     The Proposed Settlement is Fair

          A.      Case posture

          In evaluating the first fairness factor, the Court must assess “how far the case has come

   from its inception, since a settlement in an immature case might point towards collusion, while a

   mature case will point in the opposite direction.” Domonoske, 790 F. Supp. 2d at 473. This

   factor strongly favors approval because the case settled in principle on the precipice of a multi-

   week trial after (a) two rounds of motions to dismiss, (b) extensive discovery, and (c) briefing on

   cross-motions for summary judgment. Nine months of exhaustive settlement negotiations were

   needed to finalize the agreement and present it for preliminary approval. It is difficult to



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   conceive of a case more “mature” for settlement. Much like the situation in Beaulieu v. EQ

   Industrial Services, Inc., “[this] case was being actively litigated when the settlement was

   reached. Indeed, the case ha[d] been aggressively prosecuted and defended since its inception.”

   No. 5:06-cv-400-BR, 2009 WL 2208131, at *24 (E.D.N.C. July 22, 2009); see also Mills Corp.,

   265 F.R.D. at 254. (“[I]n cases in which discovery has been substantial and several briefs have

   been filed and argued, courts should be inclined to favor the legitimacy of a settlement.”

   (citation omitted)); Clark, 2004 WL 256433, at *7 (“[I]t is clear from the docket . . . that this

   matter was hard fought from its initiation through contentious class certification proceedings.”).

          B.      Extent of discovery

          This factor “requires the court to determine whether the case was well-enough developed

   for [the parties] to appreciate the full landscape of their case.” Domonoske, 790 F. Supp. 2d at

   473. Clearly, extensive discovery characterized this case and likewise favors approval. The

   parties even needed occasional intervention from the Court to resolve discovery disputes. (E.g.,

   dkt. no. 88). And as the parties observe, they:

          conducted and completed some 27 depositions, including depositions of the four
          original Named Plaintiffs, expert witnesses for each side, VDOC officials, and
          numerous VDOC and medical care contractor fact witnesses. Full discovery had
          been completed well before settlement negotiations began, “thereby facilitating an
          informed decision by the parties regarding settlement.” Beaulieu, 2009 WL
          2208131, at *24; see Jiffy Lube, 927 F.3d at 159 (“We have held that a reasonable
          judgment on the possible merits of the case is best achieved when all discovery
          has been completed and the case is ready for trial.” (dictum) (Citation omitted.));
          Mills Corp., 265 F.R.D. at 254 (“Where . . . ‘discovery was largely completed as
          to all issues and parties,’ the second [fairness] factor militates toward approval of
          settlement.” (Citation omitted)).

   (Dkt. no. 255 at 21).

          C.      Circumstances surrounding settlement negotiations

          The objective of this factor is to ensure that counsel entered into settlement
          negotiations on behalf of their clients after becoming fully informed of all


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           pertinent factual and legal issues in the case. This requires an examination of the
           negotiating process by which the settlement was reached in order to ensure that
           the compromise is the result of arm’s-length negotiations necessary to effective
           representation of the class’s interests.

   In re The Mills Corp. Sec. Litig., 265 F.R.D. 246, 255 (E.D. Va. 2009) (internal citations and

   quotations omitted). As explained above, a settlement in principle was reached after hard-fought

   litigation of this case. Even then:

           The Parties took a full nine months thereafter to complete [the settlement]
           process, during which their representatives – counsel and medical experts for both
           sides and VDOC officials – engaged in extensive negotiations by telephone
           conference, written communications and three lengthy in-person meetings to hash
           out and agree upon specific terms and conditions. These efforts were protracted
           and, according to the Parties’ counsel, occasionally contentious.

   (Dkt. no. 255 at 21-22). As counsel for Plaintiffs understandably observed at the fairness

   hearing, the settlement process included “sometimes difficult negotiations and accommodations

   on both sides.” (Hr’g Tr. at 92; see id. at 94 (speculating that the length and extent of the parties’

   negotiations “probably tried the Court’s patience”); id. at 53 (explaining Compliance Monitor’s

   participation in settlement process that was “[l]onger than we thought”)). This factor also

   heavily favors approval. Mills Corp., 265 F.R.D. at 255 (“this settlement was not entered into

   haphazardly with an undeveloped understanding of the merits of the case. . . . Negotiations were

   sufficiently thorough, contentious, and at arm’s length to ensure the propriety of [the Parties’]

   decision to enter into the settlement”); Beaulieu, 2009 WL 2208131, at *25 (“The settlement

   negotiations also appear clearly to have been adversarial. Indeed, plaintiffs represent that they

   were not only at arm’s length and without collusion, but contentious and sometimes heated.

   . . . These representations are consistent with the tenor of counsel’s filings and in-court

   presentations on contested matters, which have demonstrated zealous pursuit of their respective

   clients’ interests.”).



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          D.      Views and experience of counsel

          Knowledgeable and experienced counsel on both sides of this dispute have expressly

   endorsed the Settlement Agreement as fair, adequate and in their respective clients’ best

   interests. (See dkt. no. 221 at 9-10; Hr’g Tr. at 93-94). The Court finds no basis to disagree.

   Furthermore, in granting the Plaintiffs’ motion for class certification, the Court already

   recognized the experience and qualifications of Plaintiffs’ counsel in this matter.

          Plaintiffs are represented by experienced and qualified counsel who are competent
          to conduct this action and fairly represent the interests of plaintiffs and the class
          as a whole. The Legal Aid Justice Center and the Washington Lawyers’
          Committee for Civil Rights and Urban Affairs are well-known public interest
          legal services organizations with substantial experience with respect to and
          involvement in civil rights litigation, including class actions, in Virginia and, as
          regards to the Washington Lawyers’ Committee, other jurisdictions. Those two
          organizations are joined as co-counsel by the Washington, D.C. law firm of Wiley
          Rein LLP, which is representing the Plaintiffs in a pro bono capacity. Wiley Rein
          is a firm of more than 275 attorneys that handles complex civil litigation matters,
          and its lead counsel in this case has significant experience in prisoners’ civil
          rights cases and class actions.

    (Dkt. No. 188 at 30; see also Hr’g Tr. at 96 (recognizing and expressing gratitude of efforts by

   all parties’ attorneys for working to remedy “this situation”). The Court likewise notes that the

   Assistant Attorneys General representing Defendants specialize in prisoners’ civil rights

   litigation and are fully informed with respect to the matters at issue here.

          Based on the foregoing, the Court finds that the settlement meets the four fairness factors,

   all of which “indicate that the settlement here falls within the range of . . . final approval.”

   Beaulieu, 2009 WL 2208131, at *25.

   II.    The Proposed Settlement is Adequate

          In evaluating the five adequacy factors, “[e]ssentially, the court should weigh the benefits

   of the settlement to the class against the strength of the defense, and the expense and uncertainty

   of the litigation while accounting for class objections.” Domonoske, 790 F. Supp. 2d at 474.


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   “The most important factor to be considered in determining whether there has been such a clear

   abuse of discretion is whether the trial court gave proper consideration to the strength of the

   plaintiffs’ claims on the merits.” Flinn v. FMC Corp., 528 F.2d 1169, 1172 (4th Cir. 1975).

             A.     Strength of Plaintiffs’ case

             Plaintiffs’ case on the merits here is strong, especially after the Court’s rulings on class

   certification and on summary judgment. As of the time they reached an agreement with the

   Defendants to settle this action, Plaintiffs had defeated the Defendants’ threshold motion to

   dismiss, prevailed on their own motion for class certification, and were anticipating a favorable

   disposition from the Court on the parties’ cross-motions for summary judgment, which the Court

   issued on November 25, 2014, granting the Plaintiffs’ motion for partial summary judgment, and

   denying the Defendants’ motion for summary judgment in its entirety. Regarding the latter, the

   Court determined, on the basis of a comprehensive summary judgment record, that “a fact-finder

   could reasonably determine that the VDOC is deliberately indifferent to the serious medical

   needs of the Plaintiffs and the entire class of women residing at FCCW.” (Dkt. no. 201 at 40; see

   also dkt. no. 222, ¶ 4 at 2 (“The Plaintiffs have presented ample evidence in their filings

   supporting class certification, their Motion for Partial Summary Judgment, and their response in

   opposition to the VDOC’s Motion for Summary Judgment, enabling a fact-finder to reasonably

   conclude that the VDOC Defendants are or have been deliberately indifferent to the serious

   medical needs of the Plaintiff class[.]”)). These considerations suggest that, at a minimum, the

   Plaintiffs presented a viable case capable of being sustained by a judgment on the merits after

   trial.5

             B.     Potential hindrances to success at trial

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           Consistent with their position, Plaintiffs have extracted a detailed settlement agreement
   that provides much-needed relief to the class

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          Nevertheless, the confidence of Plaintiffs’ counsel in prevailing on the merits was

   necessarily tempered by the uncertainty and unpredictability inherent in trial.     Also taken into

   consideration was their belief—supported no doubt by their own experiences with prison reform

   litigation, as well as by cases and the observations of practitioners and scholars of civil rights

   law—that prisoners’ civil rights cases premised upon the establishment of the deliberate

   indifference of governmental actors to unconstitutional conditions of confinement are difficult to

   win as a general matter.6 Moreover, “no matter how confident one may be in the outcome of

   litigation, such confidence is often misplaced.’” Mills Corp., 265 F.R.D. at 256. Thus, even

   absent any specifically identified or anticipated proof problems or compelling defenses at trial

   from the Plaintiffs’ perspective, a settlement offering the prospect of substantial affirmative

   relief was clearly an attractive proposition. Conversely, the Defendants were confronted with the

   prospect of a bench trial on the heels of the Court’s rejection of their potentially case-dispositive

   defenses as a matter of law and the Court’s pronouncement that it, as the fact-finder, could

   reasonably find that the VDOC was deliberately indifferent to the Plaintiffs’ serious medical

   needs in violation of the Eighth Amendment. Accordingly, both Parties faced uncertainty and

   “‘[w]hen viewed against the substantial and certain benefits that a settlement would provide,

   these considerations support approval of the proposed . . . settlement.’” Id. (citing In re Global

   Crossing Securities and ERISA Litig., 225 F.R.D. 436, 459 (S.D.N.Y. 2004)

          C.      Potential expense and delay caused by continued litigation


   6
            See, e.g., Barnard v. Piedmont Reg. Jail Auth., No. 3:07CV566, 2009 WL 3416228, *4 &
   n.4 (E.D. Va. 2009) (noting “the undesirability of prisoner litigation in general”); Qandah v.
   Lombardi, No. 12-04213-CV-C-HFS, 2013 WL 684189, at *2 (W.D. Mo. Feb. 25, 2013)
   (reviewing “negative attitudes” and “special skepticism” sometimes held about prisoner
   litigation); dkt. no. 228, Exhs. 7-9 (Declarations of Victor Glasberg, David Fathi and Benjamin
   Spencer, respectively, supporting Plaintiffs’ Petition for Attorneys’ Fees and Litigation Costs
   and attesting to the generally difficult and undesirable nature of prisoners’ civil rights cases).

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          The time, expense, and effort to obtain a judgment on the merits—both after trial and

   after the appellate process—did provide incentive for settlement. The parties’ agreement-in-

   principle to settle this case was reached on the eve of what was scheduled to be at least a two-

   week trial. The additional expenses that both sides would have necessarily incurred in trying the

   case, on top of the large sums that had already been incurred before trial, would have been

   substantial. In addition, the trial itself would have almost certainly been followed by extensive

   post-trial proceedings and a likely Fourth Circuit appeal by whichever side received an adverse

   judgment from this Court. The avoidance of the demands of further litigation—time, effort, and

   expense—to the parties weighs strongly in favor of approving the settlement agreement. See

   Mills Corp., 265 F.R.D. at 256-57.7

          D.      Solvency of Defendants and likelihood of recovery

          Because this case involves injunctive relief against a state agency and not a claim for

   damages, this factor is not implicated.

          E.      Degree of opposition to the settlement

          The fact that relatively few class members filed objections supports a settlement’s

   adequacy. Domonoske, 790 F. Supp. 2d at 474 (objections from only 0.04% of class members

   supported finding of adequacy); Smith v. Res-Care, Inc., No. CV 3:13-5211, 2015 WL 6479658,

   at *7 (S.D.W. Va. Oct. 27, 2015) (holding that lack of objections weighed in favor of approval);

   Mills Corp., 265 F.R.D. at 257 (same). Here, only six of the approximately 1,200 class members

   (or 0.5%) filed objections to or statements regarding the settlement.        This factor supports

   approval of the settlement. The Court discusses the substance of the objections below, which it

   7
           Taking the second and third adequacy factors together, it is clear that Plaintiffs
   understandably abided by the aphorism that “a bird in the hand is worth two in the bush.” By
   settling the case on the eve of trial, they forewent the opportunity for some marginally-increased,
   costly, and uncertain relief in exchange for a substantial, guaranteed, and immediate quarry.

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   finds do not counsel against approval of the settlement.

   III.       The Class Received Reasonable Notice of the Settlement

              The Court’s Order granting preliminary approval (dkt. no. 222) contained specific notice

   provisions to the class members. Notice is not mandatory in class actions certified pursuant to

   Rule 23(b)(2)—see Fed. R. Civ. P. 23(c)(2)(A)—but the Court agreed with the parties’

   determination that the provision of such notice was appropriate under the circumstances of this

   case. See Dkt. 222, ¶ 2(a)-(d) at 3. The notice procedures were reasonable, and Defendants filed

   a notice and accompany affidavit recounting their compliance with them (dkt. nos. 224, 224-1), a

   fact borne out by the Court’s receipt of objections from class members. The Court concludes

   that the Class Notice provided in this case was comprehensive and fully appropriate to meet the

   requirements of Rule 23(c)(2)(B), Rule 23(h)(1), and any relevant due process considerations.

   See Domonoske, 790 F. Supp. 2d at 472-73; Clark, 2004 WL 256433, at *4 n.22

   IV.        Objections Do Not Undermine the Settlement, and Most Actually Support It

              The Court received six comments or objections to the settlement, all of which have been

   considered. (Dkt. nos. 231, 234, 237, 245, 246, 250). Far from undermining the settlement,

   these filings overwhelmingly affirm the need for the relief that the settlement provides. The

   objections of Ms. Durham and Ms. Warner recount the trying conditions they have experienced

   at FCCW, conditions that the settlement is designed to remedy. The three comments filed after

   the fairness hearing notifying the Court of the death of Ms. Ines further highlight the importance

   of this settlement.

              Only Ms. Roe has submitted detailed objections to terms of the settlement. She objects,

   for example, that:

             “Medical staff” is undefined and allows for unqualified or untrained personnel to
              continue giving treatment (dkt. no. 234 ¶ 35);


                                                     26

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         “timely” treatment and evaluation of medical needs is undefined, and should be clarified
          to mean within 24 hours (id. ¶ 35a; see also id. ¶ 43 (“timely” emergency case should be
          defined as 12 hours or less));

         Additional provisions requiring documentation of medical events should be added (id. ¶¶
          36-38);

         Rather than being suspended only 6 months, co-pays should be suspended 9 months (id. ¶
          38);

         MRSA and Hepatitis treatment guidelines should be adopted (id. ¶ 39);

         The Pill Line should not occur outside during bad weather or before 5:30 A.M. (id. ¶ 40);

         Chronic care patients should be monitored every month rather than every 6 months when
          stable (id. ¶ 41);

         Referrals to specialists should occur within 14 days, not 30 days (id. ¶ 45);

         “Timely” receipt of written lab or testing results should be defined as within 72 hours (id.
          ¶46);

         Reports on the grievance process should be issued every 3 months (id. ¶47).

   Many of these objections are simple disagreements with terms that were negotiated over several

   months with the input of the parties, their lawyers, medical experts, and Dr. Scharff, the

   compliance monitor. The Court will not lightly second-guess these choices, which are well-

   informed by medical judgment and clearly the result of arms-length negotiations.

          Furthermore, several of Ms. Roe’s concerns are allayed by the complete terms of the

   settlement. For instance: there are detailed provisions providing for a compliance monitor who

   visits FCCW four times a year and submits a corresponding compliance report (dkt. no. 221-1 at

   ECF 17-24); RNs and LPNs must only act within the scope of their medical training (id. at ECF

   9; see also id. at ECF 34, 38); there will never be a co-pay for medicine for chronic conditions,

   emergency care, or treatment of communicable disease (id. at ECF 10); specific policy changes

   are implemented regarding diabetes and Hepatitis patients, among other conditions (id. at ECF

                                                   27

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   8); and any changes to FCCW’s Operating Procedures must be accompanied by 20 days

   advanced notice (id. at ECF 7 n.2).

            Finally, as shown in the Findings of Fact, the Court extensively questioned the Dr.

   Scharff about Ms. Roe’s objections.         Dr. Scharff discussed each of them, and the Court

   concludes that his answers and explanations fully assuage any concerns about approval of the

   settlement that class members could maintain.

   V.       The Requirements of the PLRA Are Satisfied

            The Settlement Agreement must also be evaluated under the specific requirements of the

   Prison Litigation Reform Act (“PLRA”), 18 U.S.C. § 3626(a)(1)(A), as it concerns prospective

   relief from prisoners’ conditions of confinement. In particular:

            The PLRA states that no prospective relief shall issue with respect to prison
            conditions unless it is narrowly drawn, extends no further than necessary to
            correct the violation of a federal right, and is the least intrusive means necessary
            to correct the violation. When determining whether these requirements are met,
            courts must “give substantial weight to any adverse impact on public safety or the
            operation of the criminal justice system.”

   Brown v. Plata, __ U.S. __, 131 S. Ct. 1910, 1939 (2011), citing 18 U.S.C. § 3626(a); accord

   Plyler v. Moore, 100 F.3d 365, 369 (4th Cir. 1996); Etters v. Young, No. 5:09-CT-3187-D, 2012

   WL 1950415, *2 (E.D.N.C. May 30, 2012); Couch v. Jabe, 737 F. Supp. 2d 561, 573 (W.D. Va.

   2010).    A court “shall not enter or approve a consent decree unless it complies with the

   limitations on relief set forth in” 18 U.S.C. § 3626(c)(1). Etters, 2012 WL 1950415, at *2.

            Here, the Parties’ Settlement Agreement expressly reflects their shared consensus that the

   resolution they have reached satisfies the requirements of the PLRA. See dkt. no. 221 at 14; see

   also dkt. no. 221-1 at 27 (“The Parties agree that the prospective relief established by this

   Settlement Agreement is narrowly drawn, extends no further than is necessary to address and

   remedy the violations of federal rights alleged by the Plaintiffs in their pleadings in this action, is


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   the least intrusive means necessary to correct these alleged violations and will not have any

   adverse impact on public safety or the operation of the criminal justice system.”). The Parties

   have requested that the Court, upon its own independent review and evaluation of the Settlement

   Agreement, reach a conclusion in accordance with their Stipulation. Id. For the reasons set forth

   below, the Court so concludes.

          Plaintiffs’ original and amended pleadings in this action are premised upon allegations of

   constitutionally-deficient medical care of a systemic nature at FCCW, as manifested in a host of

   particular aspects such as, without limitation:       inadequate staffing levels; deficient intake

   screening of offenders upon arrival at FCCW; deficient performance of comprehensive health

   assessments; inadequate sick call process and inappropriate denial of access to medical services;

   excessive offender co-pay policy enforcement; insufficient diagnostic and treatment practices;

   inadequate responsiveness to medical emergencies; deficient and unsanitary infirmary

   conditions; inadequate chronic care practices; inadequate infectious disease control practices;

   deficient practices with respect to timely referral to outside medical specialists; deficient

   practices with respect to timely and appropriate adherence to outside specialists’ treatment

   recommendations; refusal to provide prescribed non-formulary medications; inadequate and

   inconsistent continuity in supply and distribution of prescribed (and in some instances, life-

   sustaining) medications; inadequate and inconsistent continuity in supply and distribution of

   medical equipment and supplies; unresponsive medical grievance process; denial of appropriate

   and timely offender access to medical information including diagnostic testing results; denial of

   prescribed and needed physical therapy; inadequate (or non-existent) accommodations for

   prisoners with disabilities; insufficient training of correctional staff with respect to medical care

   matters; deficient policies and/or practices with respect to treatment of chronic pain, provision of



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   palliative care and release of terminally-ill prisoners; inadequate mortality reviews; inadequate

   monitoring by VDOC of its medical contractors; and deficient policies and practices for fostering

   continuous quality improvement in the provision of medical care at FCCW. The Plaintiffs,

   throughout the course of the litigation, have supported these allegations with substantial

   admissible and persuasive evidence. See supra; see also dkt. nos. 132 & 138.

          The Court earlier concluded that “[t]he Plaintiffs have presented ample evidence in their

   filings supporting class certification, their Motion for Partial Summary Judgment, and their

   response in opposition to the VDOC’s Motion for Summary Judgment, enabling a fact-finder

   [i.e., the Court] to reasonably conclude that the VDOC Defendants are or have been deliberately

   indifferent to the serious medical needs of the Plaintiff class[.]” Dkt. no. 222, ¶ 4 at 2. Although

   the case did not proceed to trial and was never fully decided on the merits, the voluminous

   evidence supplied by the Plaintiffs over four years of litigation would have been sufficient to

   prove an actual violation of Plaintiffs’ Eighth Amendment rights. Further, the various remedies

   in the Parties’ Settlement Agreement are directly linked to and designed to effectively address—

   and redress—the Eighth Amendment violations alleged in the Plaintiffs’ pleadings and reflected

   in their evidentiary submissions.

          A.      Changes to VDOC Operating Procedures for FCCW

          The Parties, with the assistance of correctional medical experts of their choosing and, at

   times, the designated compliance monitor, comprehensively reviewed the existing VDOC

   Operating Procedures governing or closely related to the provision of medical care at FCCW.

   They agreed upon extensive revisions to the FCCW Operating Procedures in order to enhance

   the prospects for improved medical care that will meet standards for constitutional adequacy.




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          B.      Adoption of Additional Guidelines and Standards

          Beyond the revisions to the established VDOC Operating Procedures, the parties

   negotiated and reached agreement regarding an additional set of medical Guidelines and

   Standards to address specific issues and problem areas revealed by the Plaintiffs’ evidentiary

   submissions. Adherence to these Guidelines and Standards is deemed necessary to assure that

   constitutional standards are met at FCCW going forward with respect to such matters as staffing

   levels, the medical intake process, comprehensive health assessments, the sick call process, the

   co-pay policy, diagnosis and treatment practices, responses to medical emergencies, infirmary

   conditions, chronic care practices, infectious disease control, utilization management, medication

   administration, physical therapy, response to medical grievances, provision of diagnostic testing

   and course of treatment information, correctional staff training, care for and release of

   terminally-ill prisoners and mortality review practices.

          C.      Establishment of Other Necessary Policies

          The Settlement Agreement provides that the Parties will collaboratively develop two new

   Operating Procedures with the assistance of their respective consulting correctional medical

   experts and the compliance monitor. These Operating Procedures will ensure that: (i) FCCW

   meets its obligations to disabled prisoners under both Eighth Amendment standards and the

   requirements of the Americans With Disabilities Act, 42 U.S.C. §§ 13131, et. seq., and its

   implementing regulations; and (ii) that the improved, enhanced level of medical care that the

   Defendants have committed to provide under the Agreement (thereby meeting their

   constitutional obligations) will continue beyond the expiration of the Agreement as a result of

   implementation of recognized and accepted Continuous Quality Improvement principles.




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          D.      Performance Monitoring Tools and Monitoring

          The Parties have agreed that the compliance monitor, Dr. Scharff, will develop a set of

   Performance Measuring Tools focused on each of the major subjects and issues in regard to

   which the Defendants’ performance must be improved in order to satisfy constitutional

   requirements. Dr. Scharff will utilize these Tools as the basis for his monitoring activities to

   ensure that Defendants are meeting their obligations to provide constitutionally-adequate medical

   care at FCCW for the duration of the effective period of the Settlement Agreement. For these

   purposes, Dr. Scharff will conduct periodic visits to FCCW.         During these visits, he will

   interview prisoners, medical staff and correctional personnel; review facilities; review medical

   grievances and medical records; and undertake such other activities as he deems necessary or

   appropriate to assess the quality and quantity of medical care that is being provided at the

   Facility. He will report in writing to the Parties following each visit, and will advise the

   Defendants in the event he determines that they are not in compliance with constitutional

   standards and/or the provisions of the Settlement Agreement.

          In Brown v. Plata, the Supreme Court addressed and elaborated upon the “narrow

   tailoring” requirement imposed by the PLRA as follows:

          Narrow tailoring requires a “‘fit’ between the remedy’s ends and the means
          chosen to accomplish those ends.” Board of Trustees of State Univ. of N.Y. v.
          Fox, 482 U.S. 469, 480 (1989). The scope of the remedy must be proportional to
          the scope of the violation, and the Order must extend no further than is necessary
          to remedy the violation. This Court has rejected remedial orders that
          unnecessarily reach out to improve prison conditions other than those that violate
          the Constitution. Lewis v. Casey, 518 U.S. 343, 357 (1996). But the precedents
          do not suggest that a narrow and otherwise proper remedy for a constitutional
          violation is invalid simply because it will have collateral effects.

   131 S. Ct. at 1939-40 (parallel citations and internal quotations omitted); see also Fox, 482 U.S.

   at 480 (Narrow tailoring requires “a ‘fit’ that is not necessarily perfect, but reasonable; that



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   represents not necessarily the single best disposition, but one whose scope is ‘in proportion to the

   interest served[.]’” (citation omitted.)).

           Here, Plaintiffs have alleged, and their voluminous evidentiary presentation supports,

   systemic violations of the Eighth Amendment in the provision of medical care to prisoners

   residing at FCCW, as reflected in a host of deficient policies, practices and procedures employed

   by Defendants and their medical care contractors. The provisions of the Settlement Agreement

   are specifically geared to modification of the Defendants’ constitutionally-deficient medical care

   with the objective of raising the level of the overall quality and quantity of medical care at

   FCCW to meet the constitutional standards under the Eighth Amendment on a consistent, on-

   going basis.    The Court concludes that the “fit” between the objective of constitutionally-

   adequate medical care at FCCW and the means chosen by the Parties to meet that objective as

   embodied in their Settlement Agreement is both reasonable and appropriate under all the

   circumstances of this case. Accordingly, the Court holds that the prospective relief contemplated

   by the provisions of the Settlement Agreement is narrowly drawn and extends no further than

   necessary to correct the violations of federal rights alleged by Plaintiffs and supported by the

   evidence they have submitted.

           The Court also notes that the Settlement Agreement places responsibility for improving

   the medical care at FCCW squarely within Defendants’ control. Defendants are charged with the

   obligation to embrace and implement all of the various remedial measures in the Agreement,

   pursuant to which the medical care at FCCW will be raised to a level satisfying the Eighth

   Amendment. The Agreement does not invest the compliance monitor with coercive powers over

   Defendants. Rather, he will merely observe and evaluate their performance of the obligations it

   imposes, work collaboratively with them on the development of additional policies intended to



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   enhance the quality of that performance, and advise them in the event acts or omissions

   implicating constitutional concerns are observed.        This structure affords Defendants an

   opportunity to choose their own means to effectively address the problems identified. The

   Court’s intervention may be invoked only to the extent Defendants fail or refuse to effectively

   remedy a constitutional deficiency brought to their attention by Plaintiffs or the compliance

   monitor under the terms of the Agreement. Accordingly, given the breadth of the constitutional

   violations that Plaintiffs have alleged and for which they have provided substantial evidence, as

   well as the scope of the need for significant remedial measures to be undertaken, the Court

   concludes that the Settlement Agreement constitutes the least intrusive means necessary to

   correct the violations at issue.

           E.      Attorneys’ Fees

           On October 19, 2015, Plaintiffs, as the “prevailing parties” in this litigation, filed a

   Petition for Award of Attorneys’ Fees and Litigation Costs Pursuant to 42 U.S.C. § 1988,

   accompanied by a supporting Memorandum of Law and extensive evidentiary submissions,

   seeking recovery in the total amount of $2,121,972.95. (Dkt. nos. 226-229). Of this total

   amount, $2,063,298.82 was sought for attorneys’ fees, determined on the basis of a lodestar

   calculation multiplying the hours that Plaintiffs’ attorneys contend that they reasonably expended

   in litigating this matter times $211.50, the capped hourly rate imposed upon cases of this nature

   by the PLRA, pursuant to 42 U.S.C. § 1997e(d)(3). Defendants requested a stay of briefing on

   the motion while the parties finalized a resolution of the matter, and the Court granted the stay.

   (Dkt. 249). As a result of successful negotiations, an agreement has been reached (and subjected

   to the requisite authorization of State officials contemplated by Va. Code § 2.2-514) to resolve

   the Plaintiffs’ attorneys’ fees and costs by a payment in the amount of $1,500,000.00.



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          The Court finds and concludes that the fee award agreed upon by the parties as an

   element of their Settlement Agreement satisfies all of the requirements of the PLRA, as

   mandated by applicable law. See, e.g., Alexander S. v. Boyd, 113 F.3d 1373, 1380 (4th Cir.

   1997); Duvall v. O’Malley, Civ. Action No. ELH-94-2541, 2014 WL 1379787, at *8 (D. Md.

   April 7, 2014). First, as noted above, the negotiated resolution amount of $1.5 million was based

   on a fee demand that was calculated utilizing an hourly rate of $211.50 as contemplated by

   42 U.S.C. § 1997e(d)(3). See generally Memorandum of Law in Support of Plaintiffs’ Petition

   for Award of Attorneys’ Fees at 11-15 & nn. 4-7 (citing authorities) (Dkt. no. 227). Second,

   based upon the evidentiary submissions provided to the Court by Plaintiffs in support of their

   Petition, including the sworn Declarations provided by counsel, counsel’s contemporaneous time

   records and related documentation, as well as this Court’s own observations and intimate

   familiarity with this litigation since its inception, the fees that will be reimbursed under the

   Settlement Agreement were directly and reasonably incurred in the course of Plaintiffs’ efforts to

   establish the constitutional violations alleged in their pleadings as contemplated by 42 U.S.C.

   § 1997e(d)(1)(A). Furthermore, given the extent of the affirmative relief that must be undertaken

   and implemented by Defendants under the provisions of the Settlement Agreement in order to

   raise the quality and quantity of medical care at FCCW to a level satisfying Eighth Amendment

   standards, the Court has no difficulty concluding that the comprised fee award is proportionate to

   the results obtained by Plaintiffs’ attorneys in this action as contemplated by 42 U.S.C.

   § 1997e(d)(1)(B).   The Court thus concludes that the award of fees and costs mutually agreed

   upon by the parties fully complies with and satisfies the applicable requirements of the PLRA.

                                    *              *              *




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          Finally, this Court is unable to identify any way in which the implementation of the

   Settlement Agreement could have any possible adverse impact on public safety or the operation

   of the criminal justice system. All requirements for approval of the Settlement Agreement under

   the provisions of the PLRA are thus satisfied.

                                               CONCLUSION

          The Court having concluded that the Parties’ Settlement Agreement is fair, adequate and

   reasonable to the Class as a whole and that its terms are narrowly drawn, extend no further than

   necessary to correct the violations of federal rights alleged by the Plaintiffs, and constitute the

   least intrusive means necessary to correct those violations, the Settlement Agreement will be

   approved. Furthermore, the Court finds that the requirements of the PLRA are satisfied as to

   Plaintiffs’ fee petition, and that Defendants will be ordered to pay $1,500,000 in attorneys’ fees

   and costs. An appropriate final judgment order will issue.

          The Clerk of the Court is directed to send these findings of fact and conclusions of law to

   all counsel of record.

          Entered this ______
                        5th   day of February, 2016.




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